Case 2:05-cr-20039-.]PI\/| Document 51 Filed 07/29/05 Page 1 of 2 Page|D 58

IN THE UNITED sTATEs DISTRICT coURmHLHjEY“£zTQFUC‘

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UNITED STATES OF AMERICA,

Plaintiff,

l
No. 05-20039V/¢“

05-20143”

vs-

BRYANT EDWARDS,

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ORDER REVOKING BOND

 

On July 27, 2005, defendant Bryant Edwards appeared before
U.S. Magistrate Judge Diane K. Vescovo on a warrant for failure to
appear. The government requested his bond be revoked. The
defendant was advised of his right to have a bond revocation
hearing.

On July 29, 2005, a bond revocation hearing was held. For the
reasons stated at the hearing, the defendant's bond is hereby
revoked and the defendant is ordered detained and held without
bond.

IT Is so oRnERED this 29th day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTR.ATE JUDGE

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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

